                  Case 8:21-bk-10958-ES                             Doc 87            Filed 06/15/21                  Entered 06/15/21 13:44:11                 Desc
                                           UNITED STATES DEPARTMENT OF JUSTICE
                                                       Main Document     Page 1 of 31
                                           OFFICE OF THE UNITED STATES TRUSTEE
                                             CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                               CHAPTER 11 (BUSINESS)

    PLAMEX INVESTMENT, LLC                                                           Case Number:             8:21-bk-10958-ES
                                                                                     Operating Report Number:           1
                                                                    Debtor.          For the Month Ending:     4/14/2021-4/30/2021

                                             I. CASH RECEIPTS AND DISBURSEMENTS
                                                   A. (OPERATING ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                  0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                       0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                    0.00

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)       Closed Pre-Petition Accts                                                           167,451.84
   **Other (Specify)     City of Lynwood grants to (5)tenants                                                 50,000.00
                         I-105 Signage income                                                                  9,160.00
   TOTAL RECEIPTS THIS PERIOD:                                                                                                                   226,611.84

5. BALANCE:                                                                                                                                      226,611.84

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)        0.00
   Disbursements (from page 2)                     82,256.05

    TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                            82,256.05

7. ENDING BALANCE:                                                                                                                               144,355.79

8. Operating Account Number(s):                                                      -0181
   Depository Name & Location:                                                       Axos Bank
                                                                                     (Operating Account opened on 4/15/2021)




* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.




                                                                                           Page 1 of 16
                 Case 8:21-bk-10958-ES  Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11
                        TOTAL DISBURSEMENTS FROM OPERATING ACCOUNT FOR CURRENT PERIOD
                                                                                                                                              Desc
                                         Main Document     Page 2 of 31
   Date             Check          Payee or DIP                                                          *Amount                **Amount
 mm/dd/yyyy        Number             account                     Purpose                               Transfered              Disbursed      Amount
     4/26/2021              1   AT&T                 Utility Deposits                                                                109.06         109.06
     4/26/2021              2   AT&T                 Utility Deposits                                                                299.85         299.85
     4/26/2021              3   AT&T                 Utility Deposits                                                                109.06         109.06
     4/26/2021              4   AT&T                 Utility Deposits                                                                107.20         107.20
     4/26/2021              5   AT&T                 Utility Deposits                                                                113.84         113.84
     4/26/2021              6   AT&T                 Utility Deposits                                                                181.05         181.05
     4/26/2021              7   AT&T                 Utility Deposits                                                                377.08         377.08
     4/26/2021              8   AT&T                 Utility Deposits                                                                 42.80          42.80
     4/26/2021              9   AT&T                 Utility Deposits                                                                104.34         104.34
     4/26/2021             10   AT&T                 Utility Deposits                                                                179.49         179.49
     4/26/2021             11   City of Lynwood      Utility Deposits                                                                308.93         308.93
     4/26/2021             12   City of Lynwood      Utility Deposits                                                              6,806.74       6,806.74
     4/26/2021             13   City of Lynwood      Utility Deposits                                                                466.96         466.96
     4/26/2021             14   City of Lynwood      Utility Deposits                                                                296.74         296.74
     4/26/2021             15   City of Lynwood      Utility Deposits                                                                542.98         542.98
     4/26/2021             16   City of Lynwood      Utility Deposits                                                              1,999.75       1,999.75
     4/26/2021             17   City of Lynwood      Utility Deposits                                                              1,635.90       1,635.90
     4/26/2021             18   City of Lynwood      Utility Deposits                                                              2,239.02       2,239.02
     4/26/2021             19   City of Lynwood      Utility Deposits                                                              3,256.47       3,256.47
     4/26/2021             20   City of Lynwood      Utility Deposits                                                                823.78         823.78
     4/26/2021             21   City of Lynwood      Utility Deposits                                                              4,424.48       4,424.48
     4/26/2021             22   City of Lynwood      Utility Deposits                                                                642.62         642.62
     4/26/2021             23   DirecTV              Utility Deposits                                                                179.99         179.99
     4/26/2021             24   The Gas Company Utility Deposits                                                                     600.00         600.00
     4/26/2021             25   So Cal Edison Co     Utility Deposits                                                                710.99         710.99
     4/26/2021             26   So Cal Edison Co     Utility Deposits                                                              1,558.75       1,558.75
     4/26/2021             27   So Cal Edison Co     Utility Deposits                                                             21,230.24      21,230.24
     4/26/2021             28   So Cal Edison Co     Utility Deposits                                                              5,454.43       5,454.43
     4/26/2021             30   So Cal Edison Co     Utility Deposits                                                              3,462.70       3,462.70
     4/26/2021             31   So Cal Edison Co     Utility Deposits                                                              5,635.09       5,635.09
     4/26/2021             32   Verizon Wireless     Utility Deposits                                                                 60.08          60.08
     4/26/2021             33   Waste Resources, Inc.Utility Deposits                                                                478.40         478.40
     4/26/2021            324   Waste Resources, Inc.Utility Deposits                                                                478.40         478.40
     4/26/2021             35   Waste Resources, Inc.Utility Deposits                                                              1,973.48       1,973.48
     4/26/2021             36   Waste Resources, Inc.Utility Deposits                                                              2,944.64       2,944.64
     4/26/2021             37   Waste Resources, Inc.Utility Deposits                                                             10,000.00      10,000.00
     4/26/2021             38   Waste Resources, Inc.Utility Deposits                                                              2,420.72       2,420.72
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                                                                                                                                                      0.00
                                            TOTAL DISBURSEMENTS THIS PERIOD:                                       0.00           82,256.05     $82,256.05
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.



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                                                              OPERATING
                                                            Main DocumentACCOUNT
                                                                             Page 3 of 31
                                                             BANK RECONCILIATION

                           Bank statement Date:                  4/1/2021-4/30/2021       Balance on Statement:   $   226,611.84

Plus deposits in transit (a):
                                                                      Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                    0.00
Less Outstanding Checks (a):
                    Check Number                                       Check Date             Check Amount

                            Refer to the attached list                                               82,256.05




TOTAL OUTSTANDING CHECKS:                                                                                              82,256.05

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                $144,355.79
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
                                                                           Page 3 of 16
                  Case 8:21-bk-10958-ES                             Doc 87            Filed 06/15/21                  Entered 06/15/21 13:44:11                 Desc
                                           UNITED STATES DEPARTMENT OF JUSTICE
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                                           OFFICE OF THE UNITED STATES TRUSTEE
                                             CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                               CHAPTER 11 (BUSINESS)

    PLAMEX INVESTMENT, LLC                                                           Case Number:             8:21-bk-10958-ES
                                                                                     Operating Report Number:           1
                                                                    Debtor.          For the Month Ending:           Apr-21

                                             I. CASH RECEIPTS AND DISBURSEMENTS
                                                A. (RENT COLLECTIONS ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                  0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                       0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                    0.00

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)       Rent collections                                                                    329,758.79
   **Other (Specify)

    TOTAL RECEIPTS THIS PERIOD:                                                                                                                  329,758.79

5. BALANCE:                                                                                                                                      329,758.79

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                                       0.00
   Disbursements (from page 2)                                                                                         0.00

    TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                                  0.00

7. ENDING BALANCE:                                                                                                                               329,758.79

8. Rent Collections Account Number(s):                                               -0173
   Depository Name & Location:                                                       Axos Bank
                                                                                     (Operating Account opened on 4/15/2021)




* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.




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                 Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11 Desc
                    TOTAL DISBURSEMENTS FROM RENT COLLECTIONS ACCOUNT FOR CURRENT PERIOD
                                         Main Document    Page 5 of 31
   Date             Check          Payee or DIP                                                          *Amount                **Amount
 mm/dd/yyyy        Number             account                            Purpose                        Transfered              Disbursed     Amount
                                                                                                                                                    0.00
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                                            TOTAL DISBURSEMENTS THIS PERIOD:                                       0.00                0.00        $0.00
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.



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                                                         RENT
                                                           MainCOLLECTIONS
                                                                Document    ACCOUNT
                                                                            Page 6 of 31
                                                            BANK RECONCILIATION

                           Bank statement Date:                  4/1/2021-4/30/2021       Balance on Statement:   $   329,758.79

Plus deposits in transit (a):
                                                                      Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                    0.00
Less Outstanding Checks (a):
                    Check Number                                       Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                    0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                $329,758.79
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
                                                                           Page 3 of 16
          Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11           Desc
                         I. CASH RECEIPTS AND DISBURSEMENTS
                                  Main Document   Page 7 of 31
                                   C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                       0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                            0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                     0.00

4. RECEIPTS DURING CURRENT PERIOD:                                                        0.00
   (Transferred from Rent Collection Account)

5. BALANCE:                                                                               0.00

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                    0.00

7. ENDING BALANCE:                                                                        0.00

8. TAX Account Number(s):                         -0199
   Depository Name & Location:                    Axos Bank
                                                  (Tax DIP Account opened on 4/15/2021)




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        Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11   Desc
          TOTAL DISBURSEMENTS   FROM
                               Main    TAX ACCOUNT
                                    Document    Page 8FOR  CURRENT PERIOD
                                                       of 31

  Date     Check
mm/dd/yyyy Number        Payee                          Purpose             Amount




                                    TOTAL DISBURSEMENTS THIS PERIOD:              0.00




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                                                                MainTAX ACCOUNTPage 9 of 31
                                                                     Document
                                                               BANK RECONCILIATION

                           Bank statement Date:                  4/1/2021-4/30/2021         Balance on Statement:   $     -

Plus deposits in transit (a):
                                                                       Deposit Date             Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                              $     -
                                                                                 Page 9 of 16
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
          Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11                Desc
                         I. CASH RECEIPTS  AND DISBURSEMENTS
                                   Main Document  Page 10 of 31
                              C. (CORP CHECKING ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR CORP CHECKING ACCOUNT REPORTS                                  0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR CORP CHECKING                                       0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                          0.00

4. RECEIPTS DURING CURRENT PERIOD:                                                         1,788.79
   (Closed pre-petition bank acount with Open Bank)

5. BALANCE:                                                                                1,788.79

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                         0.00

7. ENDING BALANCE:                                                                         1,788.79

8. CORP CHECKING Account Number(s):                   -0207
   Depository Name & Location:                        Axos Bank
                                                      (Corp Checking DIP Account opened on 4/15/2021)




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     TOTAL DISBURSEMENTS FROM   CORP
                              Main    CHECKING
                                   Document       ACCOUNT
                                               Page 11 of 31FOR CURRENT PERIOD

  Date     Check
mm/dd/yyyy Number        Payee                         Purpose            Amount




                                   TOTAL DISBURSEMENTS THIS PERIOD:             0.00




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                 Case 8:21-bk-10958-ES                        Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11            Desc
                                                             CORP
                                                              MainCHECKING
                                                                   Document ACCOUNT
                                                                               Page 12 of 31
                                                              BANK RECONCILIATION

                           Bank statement Date:                  4/1/2021-4/30/2021         Balance on Statement:   $   1,788.79

Plus deposits in transit (a):
                                                                       Deposit Date             Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                  0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                  0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                              $   1,788.79
                                                                                 Page 9 of 16
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
                Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11                                              Desc
                                    I. D SUMMARY  SCHEDULE
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ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                 Operating Account:                                 144,355.79
                                                           Rent Collections Account:                                329,758.79
                                                                       Tax Account:                                       0.00
                                                             Corp Checking Account                                    1,788.79
    *Other Accounts: Wells Fargo Lockbox Acct controlled by lender                                                   65,137.92


       *Other Monies:
                                                         **Petty Cash (from below):                                       500.00

TOTAL CASH AVAILABLE:                                                                                                              541,541.29


Petty Cash Transactions:
        Date                                 Purpose                                                             Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                            0.00


* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




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                                                                                                     (888) 374-8267
            PO BOX 911039
            San Diego, CA 92191-1039                                                       axosfiduciaryservices.com



                                                                Date 4/30/21            Page       1
                                                                Primary Account                 0181

                    8311292

            Plamex Investment, LLC
            Debtor in Possession,
             Case # 8:21-bk-10958-ES, Operating
            6988 Beach Blvd, Suite B-215
            BUENA PARK CA 90621




    Account Title:                     Plamex Investment, LLC
                                       Debtor in Possession,
                                        Case # 8:21-bk-10958-ES, Operating

    Basic Business Checking                             Number of Enclosures                  0
    Account Number                               0181    Statement Dates    4/15/21 thru 5/02/21
    Previous Balance                              .00    Days in the statement period           18
        3 Deposits/Credits                 226,611.84    Avg Daily Ledger              153,759.66
          Checks/Debits                           .00    Avg Daily Collected           134,623.44
    Maintenance Fee                               .00
    Interest Paid                                 .00
    Ending Balance                         226,611.84




                                           Deposits and Other Credits
    Date         Description                                         Amount
     4/20        DDA Regular Deposit                              167,451.84
     4/23        DDA Regular Deposit                               59,000.00
     4/28        SENDER      NEWBRIDGE WIRELE                          160.00
                 CTX 113000027696701



                                         DAILY BALANCE INFORMATION
    Date                       Balance Date                  Balance
     4/15                          .00   4/23             226,451.84
     4/20                   167,451.84   4/28             226,611.84




MEMBER FDIC                   NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                               1
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     Case 8:21-bk-10958-ES      Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11   Desc
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                                                            Date 4/30/21        Page     2
                                                            Primary Account   890000050181




      Basic Business Checking                890000050181   (Continued)


                                 *** END OF STATEMENT ***




MEMBER FDIC                                                                                  2
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                                                                                                     (888) 374-8267
            PO BOX 911039
            San Diego, CA 92191-1039                                                       axosfiduciaryservices.com



                                                                 Date 4/30/21           Page       1
                                                                 Primary Account                0173

                    8311291

            Plamex Investment, LLC
            Debtor in Possession,
            Case # 8:21-bk-10958-ES
            Rent Collections
            6988 Beach Blvd, Suite B-215
            BUENA PARK CA 90621




    Account Title:                     Plamex Investment, LLC
                                       Debtor in Possession,
                                       Case # 8:21-bk-10958-ES

    Basic Business Checking                             Number of Enclosures                  0
    Account Number                               0173    Statement Dates    4/15/21 thru 5/02/21
    Previous Balance                              .00    Days in the statement period           18
       15 Deposits/Credits                 329,758.79    Avg Daily Ledger              114,975.28
          Checks/Debits                           .00    Avg Daily Collected            92,642.56
    Maintenance Fee                               .00
    Interest Paid                                 .00
    Ending Balance                         329,758.79




                                           Deposits and Other Credits
    Date         Description                                         Amount
     4/20        Deposit                                            3,000.00
     4/20        DDA Regular Deposit                               27,137.28
     4/23        DDA Regular Deposit                               29,831.60
     4/23        DDA Regular Deposit                               45,116.99
     4/26        TRADE PAY CHARTER COMM OP,                               .01
                 CTX 042000019104692
                 ST*820*0001\
                 BPR*C*0.01*C*ACH*CTX*01*081517
                 693*DA*152321045584*1012345678
     4/26        Deposit Correction                                     1.25
     4/27        PAYABLES    PALO VERDE INC.                       15,325.22
                 PPD 091000014211632
                 PLAMEX INVESTMENT LLC




MEMBER FDIC                   NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                               1
Case 8:21-bk-10958-ES   Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11   Desc
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                                                            Date 4/30/21           Page      2
                                                            Primary Account               0173




      Basic Business Checking                        0173   (Continued)

                                      Deposits and Other Credits
      Date     Description                                       Amount
       4/28    25631       OPORTUN, INC.                        3,402.30
               CCD 111000029622828
               PLAMEX INVESTMENT, LLC
               REF*TN**25631\
               TRN*1*194613**194613\
       4/28    TRADE PAY CHARTER COMM OP,                      17,563.68
               CTX 042000012414606
               ST*820*0377\
               BPR*C*17563.68*C*ACH*CTX*01*08
               1517693*DA*152321045584*101234
       4/29    RENT 49     VERONICA'S AUTO                      2,530.69
               PPD 091000012631384
               PLAMEX INVESTMENT, LLC
       4/29    PAYMENTS    The Childrens Pl                    16,820.24
               CTX 021000020786119
               ST*820*000013189\
               BPR*C*16820.24*C*ACH*CTX*01*02
               1000021*DA*865357727*900035772
       4/29    DDA Regular Deposit                             66,390.58
       4/29    DDA Regular Deposit                             80,611.57
       4/30    AP PMT      Dolex AP                             5,193.69
               PPD 242071755337281
               PLAMEX INVESTMENT LLC
       4/30    EFT PYMT    RITE AID HDQTRS.                    16,833.69
               CCD 091000013390421
               PLAMEX INVESTMEN



                                    DAILY BALANCE INFORMATION
      Date               Balance Date                   Balance Date                Balance
       4/15                  .00   4/26              105,087.13    4/29           307,731.41
       4/20            30,137.28   4/27              120,412.35    4/30           329,758.79
       4/23           105,085.87   4/28              141,378.33


                                 *** END OF STATEMENT ***




MEMBER FDIC                                                                                      2
     Case 8:21-bk-10958-ES              Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11        Desc
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                                                                                                        (888) 374-8267
            PO BOX 911039
            San Diego, CA 92191-1039                                                          axosfiduciaryservices.com



                                                                 Date 4/30/21               Page      1
                                                                 Primary Account                   0199

                    8311293

            Plamex Investment, LLC
            Debtor in Possession,
            Case # 8:21-bk-10958-ES, Tax
            6988 Beach Blvd, Suite B-215
            BUENA PARK CA 90621




    Account Title:                     Plamex Investment, LLC
                                       Debtor in Possession,
                                       Case # 8:21-bk-10958-ES, Tax

    Basic Business Checking                              Number of Enclosures                    0
    Account Number                                0199    Statement Dates    4/15/21 thru    5/02/21
    Previous Balance                               .00    Days in the statement period             18
          Deposits/Credits                         .00    Avg Daily Ledger                       .00
          Checks/Debits                            .00    Avg Daily Collected                    .00
    Maintenance Fee                                .00
    Interest Paid                                  .00
    Ending Balance                                 .00




                                            DAILY BALANCE INFORMATION
    Date                          Balance
     4/15                             .00


                                       *** END OF STATEMENT ***




MEMBER FDIC                   NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                  1
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                                                                                                      (888) 374-8267
            PO BOX 911039
            San Diego, CA 92191-1039                                                        axosfiduciaryservices.com



                                                                 Date 4/30/21            Page       1
                                                                 Primary Account                 0207

                    8311294

            Plamex Investment, LLC
            Debtor in Possession,
            Case # 8:21-bk-10958-ES, Checking
            6988 Beach Blvd, Suite B-215
            BUENA PARK CA 90621




    Account Title:                     Plamex Investment, LLC
                                       Debtor in Possession,
                                       Case # 8:21-bk-10958-ES, Checking

    Basic Business Checking                              Number of Enclosures                  0
    Account Number                                0207    Statement Dates    4/15/21 thru 5/02/21
    Previous Balance                               .00    Days in the statement period           18
        1 Deposits/Credits                    1,788.79    Avg Daily Ledger                1,291.90
          Checks/Debits                            .00    Avg Daily Collected             1,192.52
    Maintenance Fee                                .00
    Interest Paid                                  .00
    Ending Balance                            1,788.79




                                            Deposits and Other Credits
    Date         Description                                             Amount
     4/20        DDA Regular Deposit                                    1,788.79



                                          DAILY BALANCE INFORMATION
    Date                          Balance Date                Balance
     4/15                             .00   4/20             1,788.79


                                       *** END OF STATEMENT ***




MEMBER FDIC                   NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                1
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          Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11                   Desc
                   II. STATUS OF PAYMENTS   TO SECURED
                                  Main Document         CREDITORS,
                                                  Page 24 of 31    LESSORS
                         AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                        Post-Petition
                             Frequency of Payments                   payments not made
  Creditor, Lessor, Etc.           (Mo/Qtr)        Amount of Payment     (Number)                 Total Due




                                                                              TOTAL DUE:                      0.00


                                              III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                            Gross Sales Subject to Sales Tax:
                                                                          Total Wages Paid:

                                                      Total Post-Petition                       Date Delinquent
                                                       Amounts Owing Amount Delinquent           Amount Due
                             Federal Withholding
                             State Withholding
                             FICA- Employer's Share
                             FICA- Employee's Share
                             Federal Unemployment
                             Sales and Use
                             Real Property
                    Other:
                                           TOTAL:                 0.00                 0.00




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                      IV. AGING OF ACCOUNTS
                                 Main DocumentPAYABLE  AND
                                                 Page 25    RECEIVABLE
                                                         of 31

                                                     *Accounts Payable        Accounts Receivable (gross)
                                                       Post-Petition         Pre-Petition    Post-Petition
                                     30 days or less         82,256.05          623,170.27       212,284.99
                                       31 - 60 days                             638,970.53       600,731.46
                                       61 - 90 days                             529,484.83       538,633.69
                                      91 - 120 days                             470,808.01       461,076.26
                                     Over 120 days                            7,485,029.36     7,640,213.48
                                           TOTAL:            82,256.05        9,747,463.00     9,452,939.88

                                      V. INSURANCE COVERAGE

                                                                      Policy Expiration      Premium Paid
                                   Name of Carrier Amount of Coverage       Date             Through (Date)
                                                    $1,000,000 each
                                  Travelers-        occurrence/aggregate
                     CGL/Property 6300S408335       = $2,000,000                 2/15/2022          2/15/2022
                                                    $25,000,000 each
                                                    occurrence and
                                  Travelers-        aggregate=
                           Excess EX8R668903        $25,000,000                  2/15/2022          2/15/2022
                                                    Bldg=$54,010,000;
                                    Lloyd's-        Business Income=
                       Earthquake GLAG1003196       $28,000,000                  10/5/2020          10/5/2021
                                    Travelers-
              Crime (incl burglary) 105899756        $          100,000.00       2/15/2022          2/15/2022
         Others:           Property
                             Crime

                           VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                        (TOTAL PAYMENTS)

Quarterly Period       Total                                                                 Quarterly Fees
 Ending (Date)     Disbursements   Quarterly Fees         Date Paid          Amount Paid      Still Owing
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                                                                        0.00
                                                Page 12 of 16                                           0.00
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                                                          Main Document    Page 26 of 31                                                                        0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                         0.00                                                        0.00                       0.00

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report




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                Case 8:21-bk-10958-ES Doc 87 Filed 06/15/21 Entered 06/15/21 13:44:11                                       Desc
                             VII SCHEDULE OFDocument
                                       Main  COMPENSATION
                                                       Page PAID  TO INSIDERS
                                                            27 of 31

                                                           Date of Order                                                     Gross
                                                            Authorizing                                                 Compensation Paid
             Name of Insider                               Compensation                  *Authorized Gross Compensation During the Month




                                     VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                                  Amount Paid
             Name of Insider                               Compensation                           Description           During the Month




                                                                            Page 13 of 16
* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
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                                                    QUESTIONNAIRE                                          Desc
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                                                                                                       No                 Yes
1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have
     been authorized by the court? If "Yes", explain below:                                            X


                                                                                                               No         Yes
2. Has the debtor-in-possession during this reporting period provided compensation or remuneration
   to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
     ~~~~:                                                                                                      X


3.   State what progress was made during the reporting period toward filing a plan of reorganization
     See #4 below.

4.   Describe potential future developments which may have a significant impact on the case:
     Int! pnnClpalS 01 Lnt! ut!DLor ana lLS part!llL company, .)lUU t. Impt!nallnvt!SLmt!llL, LL\"", wmcn IS
     in its own chapter 11 bankruptcy case pending before this Court, have been and continue to be in
     active discussions with many very interested replacement lenders, investors, partners and buyers,
     and intend to move expeditiously towards proposing plans of reorganization and/or sale of assets
     pursuant to Section 363 of the Bankruptcy Code which are in the best interests of all constituents
     of their cases. The principals of the Debtor and 3100 E. Imperial Investment, LLC are diligently
     raising capital and have employed NAI Capital Commercial, Inc., a commercial real estate
     brokerage firm, to explore the marketplace for potential sale and other financial and joint venture
     opportunities.
5.   Attach copies of all Orders granting relief from the automatic stay that were entered during the
     reporting period.

                                                                                                                No        Yes
6.   Did you receive any exempt income this month, which is not set forth in the operating report? If
     "Yes", please set forth the amounts and sources of the income below.                                        X




I,   Luis Valenzuela, Executive Vice President for Manager of Debtor, M+D Properties
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




     -;c 2-/
      Date     '
                   foro £--
                      }                                Page 16                       Principal for debtor-in-possession
